Case 16-23482         Doc 136      Filed 10/16/21 Entered 10/16/21 00:24:35               Desc      Page
                                                1 of 2

                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

In re:                                                       Case No. 16-23482-JBS
         LAWRENCE T MASICLAT
         MYLENE MASICLAT                                     Chapter 13
                 Debtor(s)



                      CHAPTER 13 STANDING TRUSTEE FRBP 2012 REPORT
                      ACCOUNTING OF PRIOR ADMINISTRATION OF CASE

For the period between November 27, 2020 through September 30, 2021, Thomas H. Hooper,
successor chapter 13 trustee, for the above-captioned case, submits the following accounting of
the estate pursuant to 11 U.S.C. §1302(b) and pursuant to Federal Rules of Bankruptcy Procedure
2012(b)(2).


 Receipts: (11/27/2020 - 9/30/2021)

         Total paid by or on behalf of the debtor                    $0.00
         Less amount refunded to debtor                              $0.00

 NET RECEIPTS:                                                                                    $0.00


 Expenses of Administration: (11/27/2020 - 9/30/2021)

         Attorney’s Fees Paid Through the Plan                               $0.00
         Court Costs                                                         $0.00
         Trustee Expenses & Compensation                                     $0.00
         Other                                                               $0.00
         Secured Creditors                                                   $0.00
         Priority Creditors                                                  $0.00
         General Unsecured Creditors                                         $0.00

 Total Disbursements & Expense of Administration:                                                 $0.00


 Balance as of 9/30/2021 Transferred to Successor Trustee                                         $0.00


Dated: 10/06/2021                                        /s/ Thomas H. Hooper
                                                         Chapter 13 Successor Trustee
                                                         55 East Monroe St., Suite 3850
                                                         Chicago, IL 60603
Case 16-23482        Doc 136       Filed 10/16/21 Entered 10/16/21 00:24:35                  Desc   Page
                                                2 of 2

                              UNITED STATES BANKRUPTCY COURT
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In re:                                                        Case No. 16-23482-JBS
         LAWRENCE T MASICLAT
         MYLENE MASICLAT                                      Chapter 13
                 Debtor(s)



                                      CERTIFICATE OF SERVICE

I hereby certify that on 10/06/2021, a copy of the foregoing Chapter 13 Trustee FRBP 2012
Report was served on the following registered ECF participants, electronically through the
Court's ECF system at the email address registered with the Court:

Patrick S. Layng, United States Trustee




                                                          /s/ Thomas H. Hooper
                                                          Thomas H. Hooper
                                                          Chapter 13 Standing Trustee
